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7                        IN THE UNITED STATES DISTRICT COURT

8                                  DISTRICT OF ARIZONA
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     Ronald H. Pratte,                                Case No.: 2: 19-cv-00239-PHX-GMS
10
                  Plaintiff,
11
                                                                     ORDER
12   vs.

13   Jeffrey Bardwell and Fanny F. Bardwell,
14   husband and wife,

15                Defendants.

16
            Pending before the Court is the Parties’ Joint Status Report and Motion to Extend
17
     Scheduling Dates previously set forth in the Court’s Order of April 28, 2020 (Doc. 44.
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19   Upon review of the Joint Status Report, for good cause shown, the Court further amends

20   its Case Management Order.
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           IT IS HEREBY ORDERED:
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           1. The deadline for final supplementation of MIDP responses and Extending the

24   deadline for final supplementation of MIDP responses and the completion of fact
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     discovery, including discovery by subpoena shall be no later than _____________, 2020.
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           2. Plaintiff shall provide full and complete expert disclosures no later than
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28   _________________, 2020.



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1            3. Defendants shall provide full and complete expert disclosures no later than
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     _________________, 2020.
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             4. Rebuttal expert disclosures, if any, shall be made no later than _____________,
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5    2020.
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             5. Expert depositions shall be completed no later than _________________, 2020.
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             6. Dispositive motions, if any, shall be filed no later than_______________, 2020.
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9            7. The parties shall file their respective two-page letters regarding any anticipated
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     dispositive motions no later than _____________, 2020. The parties shall contact the
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     Court the following week to schedule a time for a pre-motion conference.
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